     Case 4:18-cv-00143-DCN Document 72-4 Filed 07/05/19 Page 1 of 13

                              Video Deposition

                                                                        1

 1                   UNITED STATES DISTRICT COURT

 2                     FOR THE DISTRICT OF IDAHO

 3   KELLI ROWLETTE, an individual,                  )
     SALLY ASHBY, an individual, and                 )
 4   HOWARD FOWLER, an individual,                   ) Cause No.
                                                     ) 4:18-CV 00143
 5                         Plaintiffs,               ) DCN
     vs.                                             )
 6                                                   )
                                                     )
 7                                                   )
     GERALD E. MORTIMER, M.D., LINDA G.              )
 8   MCKINNON MORTIMER, and the marital              )
     community comprised thereof, and                )
 9   OBSTETRICS AND GYNECOLOGY                       )
     ASSOCIATES OF IDAHO FALLS, P.A., an             )
10   Idaho professional corporation,                 )
                                                     )
11                         Defendants.               )

12
13             DEPOSITION OF GERALD E. MORTIMER, M.D.

14             Tuesday, December 11, 2018, 9:00 a.m.

15                          Idaho Falls, Idaho
16

17

18
              BE IT REMEMBERED that the deposition of
19   Gerald E. Mortimer, M.D. was taken by the attorney
     for the plaintiffs at the office of Thomsen Holman
20   Wheiler, PLLC, located at 2635 Channing Way, Idaho
     Falls, Idaho, before Amber S. Williams, Court
21   Reporter and Notary Public, in and for the State of
     Idaho, in the above-entitled matter.
22

23

24

25

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               Case 4:18-cv-00143-DCN Document 72-4 Filed 07/05/19 Page 2 of 13
                         GERALD E. MORTIMER, M.D. - December 11, 2018
                                       Video Deposition

                                                                                  133

02:10PM    1   line where it states, "Dr. Mortimer admits that

02:10PM    2   contained in Ms. Ashby's medical records are

02:10PM    3   pathology results on Mr. Fowler's sperm."
02:11PM    4            A.     Okay.

02:11PM    5            Q.     Is that accurate?

02:11PM    6            A.     Yes.
02:11PM    7            Q.     Okay.    Do you recall whether you

02:11PM    8   diagnosed Mr. Fowler with low sperm motility?

02:11PM    9            A.     Based on the lab report.
02:11PM   10            Q.     You did?
02:11PM   11            A.     Yes.

02:11PM   12            Q.     And you ordered the lab report, correct?
02:11PM   13            A.     Yes.    Yes.

02:11PM   14            Q.     And you just testified that you didn't

02:11PM   15   order laboratory testing except for patients,
02:11PM   16   correct?

02:11PM   17            A.     Well, I think this is related to my

02:11PM   18   patient and has to do with my patient.

02:11PM   19            Q.     But the diagnosis was with regard to

02:11PM   20   Howard Fowler, correct?

02:11PM   21            A.     That's correct.

02:11PM   22            Q.     And when you diagnose somebody, they're

02:11PM   23   your patient, correct?

02:12PM   24            A.     Yes.

02:12PM   25            Q.     So -- and you offered a diagnosis to

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               Case 4:18-cv-00143-DCN Document 72-4 Filed 07/05/19 Page 3 of 13
                         GERALD E. MORTIMER, M.D. - December 11, 2018
                                       Video Deposition

                                                                                  134

02:12PM    1   Howard Fowler, correct?

02:12PM    2            A.     Yes.

02:12PM    3            Q.     And that would make Howard Fowler your
02:12PM    4   patient, wouldn't it?

02:12PM    5            A.     Yes.

02:12PM    6            Q.     So the places where you state that
02:12PM    7   Howard Fowler is not your patient are inaccurate,

02:12PM    8   correct?

02:12PM    9            A.     Based on that.
02:12PM   10            Q.     You would agree with me that they're
02:12PM   11   inaccurate?

02:12PM   12            A.     Well, based on what we just discussed.
02:12PM   13            Q.     So if it says that he was -- if it says

02:12PM   14   Howard Fowler was not your patient, that's not the

02:12PM   15   truth, is it?
02:12PM   16            A.     It's not.

02:12PM   17            Q.     Okay.    Thank you.

02:12PM   18                   I'd ask that you turn to page 8, Request

02:13PM   19   for Admission No. 32.

02:13PM   20                   Would you please read Request for

02:13PM   21   Admission No. 32 for the record.

02:13PM   22            A.     "Dr. R. Douglas Isbell did not try to

02:13PM   23   stop you from using your own semen to inseminate

02:13PM   24   patients."

02:13PM   25            Q.     Okay.    And it is, in fact, true that

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               Case 4:18-cv-00143-DCN Document 72-4 Filed 07/05/19 Page 4 of 13
                         GERALD E. MORTIMER, M.D. - December 11, 2018
                                       Video Deposition

                                                                                  144

02:40PM    1            Q.     Okay.    On the first line, what does that

02:40PM    2   say?

02:40PM    3            A.     Usual childhood diseases, "UCHD."
02:40PM    4            Q.     And what would that mean?

02:40PM    5            A.     Well, it would mean -- it would be

02:40PM    6   measles, mumps, you know, the usual things that
02:40PM    7   children get.

02:40PM    8            Q.     So you had asked her about childhood

02:40PM    9   decides, and she indicated that she had some of the
02:40PM   10   usual childhood diseases?
02:40PM   11            A.     That's what I wrote.

02:40PM   12            Q.     Okay.    And then operations after that,
02:41PM   13   is that none?

02:41PM   14            A.     None.

02:41PM   15            Q.     Medications also none?
02:41PM   16            A.     None.

02:41PM   17            Q.     Okay.    And then after allergies, what

02:41PM   18   does that say?

02:41PM   19            A.     Sulfa.

02:41PM   20            Q.     What is Sulfa?

02:41PM   21            A.     It's --it's an old type of antibiotic.

02:41PM   22   It's a -- it's an antibiotic, but it's an older type

02:41PM   23   of drug.

02:41PM   24            Q.     Then where it says "Present Ailment,"

02:41PM   25   please read for me what that says on the lines

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               Case 4:18-cv-00143-DCN Document 72-4 Filed 07/05/19 Page 5 of 13
                         GERALD E. MORTIMER, M.D. - December 11, 2018
                                       Video Deposition

                                                                                  147

02:44PM    1   finish --

02:44PM    2             A.    I'm sorry.

02:44PM    3             Q.    -- my question.       It's all right.       It's
02:44PM    4   the court reporter who's going to get us.

02:44PM    5                   "Vesicle Symptoms."        What's the marking

02:44PM    6   after that?     Or is there significance to that
02:44PM    7   marking?

02:44PM    8             A.    It is a zero.

02:44PM    9             Q.    Okay.    And then after "Gastro-intestinal
02:44PM   10   Symptoms," it states "constipation"; is that correct?
02:44PM   11             A.    That's correct.

02:44PM   12             Q.    Okay.    On the "Remarks" section, am I
02:44PM   13   correct that the top line is "Married times seven

02:44PM   14   years"?

02:44PM   15             A.    Yes.
02:44PM   16             Q.    And then the next one -- next line is

02:45PM   17   "Infertile times six years"?

02:45PM   18             A.    Yes.

02:45PM   19             Q.    What does the next section state?

02:45PM   20             A.    "Husband had an undescended testicle

02:45PM   21   that was repaired at age six."

02:45PM   22             Q.    And what does the next line after that

02:45PM   23   say?

02:45PM   24             A.    "Low sperm count treated.          Sperm count

02:45PM   25   better."

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               Case 4:18-cv-00143-DCN Document 72-4 Filed 07/05/19 Page 6 of 13
                         GERALD E. MORTIMER, M.D. - December 11, 2018
                                       Video Deposition

                                                                                  149

02:46PM    1             Q.    Okay.    On the line where it says

02:47PM    2   "Physical Examination," what are your notations

02:47PM    3   there?
02:47PM    4             A.    Blood pressure is 110/70 and her weight

02:47PM    5   is 141.

02:47PM    6             Q.    Okay.    Next, down the left-hand side of
02:47PM    7   the document, going down there, there's a series of

02:47PM    8   words that are crossed through.           What would those

02:47PM    9   have indicated?
02:47PM   10             A.    Well, those were examination -- I would
02:47PM   11   have marked that those were examined.            So ear, nose,

02:47PM   12   and throat, heart, abdomen, all of that, those marks
02:47PM   13   mean that that exam was made.

02:47PM   14             Q.    And then after "cervix," I can't read

02:47PM   15   the next word.
02:47PM   16             A.    Well, you mean "uterus"?

02:47PM   17             Q.    Okay.    And afterward, it says

02:47PM   18   "Position," and it has some of your handwriting in

02:47PM   19   it.   What does that say?

02:47PM   20             A.    It means that the uterus is anteverted,

02:48PM   21   or up towards the abdomen rather than back towards

02:48PM   22   the -- okay.     So it's an abbreviation for anteverted.

02:48PM   23             Q.    Okay.    And then the next line where it

02:48PM   24   says "Size," what's --

02:48PM   25             A.    Normal.    "NL" is normal.

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               Case 4:18-cv-00143-DCN Document 72-4 Filed 07/05/19 Page 7 of 13
                         GERALD E. MORTIMER, M.D. - December 11, 2018
                                       Video Deposition

                                                                                  150

02:48PM    1            Q.     And so on the right adenia (sic), that's

02:48PM    2   normal also?

02:48PM    3            A.     Yeah.    Right adnexa and left adnexa.
02:48PM    4            Q.     Adnexa?

02:48PM    5            A.     Those are the ovaries.

02:48PM    6            Q.     Okay.
02:48PM    7            A.     That's -- those are the ovaries, yeah.

02:48PM    8   Adnexa and tubes.

02:48PM    9            Q.     Please read for me what's down in the
02:48PM   10   "Diagnosis and Treatment" portion of the document.
02:48PM   11            A.     Primary infertility is what that stands

02:48PM   12   for, and that's -- and then it's a vaginitis, which I
02:48PM   13   think was probably haemophilus vaginitis.              It was a

02:49PM   14   vaginal infection, it looked like.

02:49PM   15            Q.     Okay.    And then the next line where we
02:49PM   16   get into the treatment section?

02:49PM   17            A.     Well, she needs to do a basal body

02:49PM   18   temperature, needs a sperm count, needs to send for

02:49PM   19   old records and further work up; may benefit from

02:49PM   20   Clomid and/or AIH.

02:49PM   21            Q.     What is AIH?

02:49PM   22            A.     Husband insemination.        Artificial

02:49PM   23   insemination with the husband's semen.

02:49PM   24            Q.     Okay.    Now, Clomid, is that something

02:49PM   25   that you would only prescribe for a female?

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               Case 4:18-cv-00143-DCN Document 72-4 Filed 07/05/19 Page 8 of 13
                         GERALD E. MORTIMER, M.D. - December 11, 2018
                                       Video Deposition

                                                                                  151

02:49PM    1             A.    You can also prescribe it for a male.

02:49PM    2             Q.    And did you prescribe Clomid for Sally

02:49PM    3   Fowler just based on your recollection?             I realize we
02:49PM    4   may see it in the records.

02:49PM    5             A.    As I remember, I did.

02:49PM    6             Q.    And did you prescribe Clomid for Howard
02:50PM    7   Fowler?

02:50PM    8             A.    As I remember, I did.

02:50PM    9             Q.    Okay.    And so, similar to ordering lab
02:50PM   10   tests, you wouldn't pres- -- except what you've done
02:50PM   11   since you've been retired where you made some

02:50PM   12   prescriptions for a friend or family member, you
02:50PM   13   wouldn't prescribe drugs for somebody who's not your

02:50PM   14   patient, would you?

02:50PM   15             A.    No.    No.
02:50PM   16             Q.    Okay.    So if you prescribe drugs for

02:50PM   17   somebody, they are your patient?

02:50PM   18             A.    Yes.

02:50PM   19             Q.    Okay.    And so you recall prescribing

02:50PM   20   Clomid for Howard Fowler, correct?

02:50PM   21             A.    Yes.

02:50PM   22             Q.    So Howard Fowler, on that basis, was

02:50PM   23   your patient?

02:50PM   24             A.    Well, this is referring to Sally Fowler.

02:50PM   25             Q.    Okay.

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               Case 4:18-cv-00143-DCN Document 72-4 Filed 07/05/19 Page 9 of 13
                         GERALD E. MORTIMER, M.D. - December 11, 2018
                                       Video Deposition

                                                                                  156

02:56PM    1             Q.    Okay.    Is this document something that

02:56PM    2   would have been prepared by clinical laboratory?

02:56PM    3             A.    That would have been sent to us by a
02:56PM    4   lab.

02:56PM    5             Q.    Okay.    And the lab would have actually

02:56PM    6   prepared this exam slip?
02:56PM    7             A.    That was my -- that's my recollection.

02:56PM    8             Q.    Okay.    And this exam was for Howard J.

02:57PM    9   Fowler; is that correct?
02:57PM   10             A.    That's correct.
02:57PM   11             Q.    And who does it list as his doctor?

02:57PM   12             A.    Me.
02:57PM   13             Q.    And so at the time this was done, you

02:57PM   14   were Howard J. Fowler's physician?

02:57PM   15             A.    Well, I was the one that ordered the
02:57PM   16   test.

02:57PM   17             Q.    Which is something that you did for

02:57PM   18   patients, correct?

02:57PM   19             A.    Yes.

02:57PM   20             Q.    On the -- do you see where there's an

02:57PM   21   "X" marked next to semen exam?

02:57PM   22             A.    Yes.

02:57PM   23             Q.    Please tell me, if you can, what that

02:57PM   24   says -- if you can read that handwriting, because

02:57PM   25   it's --

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               Case 4:18-cv-00143-DCN Document 72-4 Filed 07/05/19 Page 10 of 13
                          GERALD E. MORTIMER, M.D. - December 11, 2018
                                        Video Deposition

                                                                                   157

02:57PM    1             A.    It says the liquification is unknown.

02:57PM    2   So we don't know how long it took to liquify because

02:57PM    3   it was already -- it was unknown.
02:57PM    4             Q.    Okay.

02:57PM    5             A.    Okay.    And the volume is

02:58PM    6   5.5 milliliters, and the PH is 7.5, and 8 to 10 per
02:58PM    7   high-power field of white cells, and the count is

02:58PM    8   5 million.     The motility is 30 percent; the

02:58PM    9   morphology is 50 percent, which means 50 percent all
02:58PM   10   of them look normal, and the color was normal.
02:58PM   11             Q.    What's the significance to the

02:58PM   12   30 percent motility?
02:58PM   13             A.    That's a -- a greatly decreased

02:58PM   14   motility.

02:58PM   15             Q.    Okay.    So was this document a part of
02:58PM   16   what you based your diagnosis of low motility on?

02:58PM   17             A.    Yes.

02:58PM   18             Q.    Okay.    So based on this, you diagnosed

02:58PM   19   Howard Fowler with low motility?

02:58PM   20             A.    Yes.    30 percent.

02:58PM   21             Q.    Now, I ask you to look at the next page.

02:58PM   22             A.    Okay.

02:58PM   23             Q.    Is this your handwriting on this page?

02:58PM   24             A.    Yes.

02:58PM   25             Q.    Okay.    I would ask that you just walk me

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               Case 4:18-cv-00143-DCN Document 72-4 Filed 07/05/19 Page 11 of 13
                          GERALD E. MORTIMER, M.D. - December 11, 2018
                                        Video Deposition

                                                                                   164

03:06PM    1   workup, or part of this -- you have to do -- you have

03:06PM    2   to be completing your testing.

03:06PM    3             Q.    Okay.    And that requires that you're
03:07PM    4   treating both husband and wife for infertility,

03:07PM    5   correct?

03:07PM    6             A.    Well -- well, you're running a test on
03:07PM    7   the husband.     That doesn't necessarily mean that

03:07PM    8   you've -- that I'm treating him.

03:07PM    9             Q.    Okay.    You also prescribed Clomid for
03:07PM   10   him?
03:07PM   11             A.    Well, I did, but that doesn't always

03:07PM   12   apply.
03:07PM   13             Q.    Okay.    But in this case you prescribed

03:07PM   14   at least one drug for him and you ordered laboratory

03:07PM   15   testing for him.
03:07PM   16             A.    Okay.

03:07PM   17             Q.    Correct?

03:07PM   18             A.    Yes.

03:07PM   19             Q.    And that's not something that you would

03:07PM   20   do for a nonpatient, is it?

03:07PM   21             A.    No.

03:07PM   22             Q.    So it would be fair to say that Howard

03:07PM   23   Fowler, at this time, was your patient?             Correct?

03:07PM   24             A.    Yes.

03:07PM   25             Q.    Okay.    Tell me -- going down the list

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               Case 4:18-cv-00143-DCN Document 72-4 Filed 07/05/19 Page 12 of 13
                          GERALD E. MORTIMER, M.D. - December 11, 2018
                                        Video Deposition

                                                                                   165

03:07PM    1   under "Semen Exam," is there any significance to what

03:07PM    2   is stated there?

03:07PM    3             A.    Well, the volume and the PH were normal;
03:07PM    4   the white count is normal; the count is low; the

03:08PM    5   motility, or percentage of movement, is low; and the

03:08PM    6   morphology, or the number of normal-looking sperm, is
03:08PM    7   low.

03:08PM    8             Q.    And the next page, page 7 of

03:08PM    9   Exhibit *-19, this is a -- results of another lab
03:08PM   10   test that -- semen examine test that you ordered --
03:08PM   11             A.    Okay.

03:08PM   12             Q.    -- for Howard Fowler?
03:08PM   13             A.    Yes.

03:08PM   14             Q.    Okay.    And same question with regard to

03:08PM   15   the semen exam, any significance to what's there?
03:08PM   16             A.    It's better.

03:08PM   17             Q.    Okay.    And the next page, page 8, this

03:08PM   18   is another -- the results of another semen exam that

03:08PM   19   you ordered for Mr. Fowler?

03:09PM   20             A.    Yes.

03:09PM   21             Q.    And up in the left-side comments, can

03:09PM   22   you read for me what that handwriting says?

03:09PM   23             A.    "Gross mucus present."

03:09PM   24             Q.    What's the significance of that?

03:09PM   25             A.    Probably nothing.

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     Case 4:18-cv-00143-DCN Document 72-4 Filed 07/05/19 Page 13 of 13

                               Video Deposition

                                                                         190

 1                       REPORTER'S CERTIFICATE

 2

 3    STATE OF IDAHO                  )
                                      )    ss.
 4    COUNTY OF BONNEVILLE            )

 5

 6
 7        I, Amber S. Williams, Court Reporter and Notary
     Public in and for the State of Idaho, do hereby
 8   certify:
          That prior to being examined Gerald E. Mortimer,
 9   M.D., the witness named in the foregoing deposition,
     was by me duly sworn to testify to the truth, the
10   whole truth, and nothing but the truth;
          That said deposition was taken down by me in
11   shorthand at the time and place therein named and
     thereafter reduced to typewriting under my direction,
12   and that the foregoing transcript contains a full,
     true, and verbatim record of said deposition.
13        I further certify that I have no interest in the
     event of the action.
14        WITNESS my hand and seal this 19th day of
     December 2018.
15
16

17

18

19

20                                        Amber S. Williams
                                          Court Reporter & Notary
21                                        Public in and for
                                          the State of Idaho
22                                        SRL-1080

23

24   My Commission Expires:        06-01-21

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